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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MARY M. FRENCH, Bar #126643
     Supervising Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     DOUGLAS JOSEPH WILLIAM CRONIN
 7
 8
 9                       IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,           )   No. CR-S-07-0250 FCD
                                         )
13                   Plaintiff,          )
                                         )   STIPULATION AND ORDER CONTINUING
14         v.                            )   STATUS CONFERENCE
                                         )
15   DOUGLAS JOSEPH WILLIAM CRONIN,      )   Date: April 27, 2009
     et al.,                             )   Time: 10:00 a.m.
16                                       )   Judge: Frank C. Damrell, Jr.
                    Defendants.          )
17   _______________________________
18         It is hereby stipulated between the parties, Lawrence G. Brown,
19   Acting United States Attorney, attorney for plaintiff, Candace Ann Fry,
20   attorney for defendant BRENDA DUKE, and Mary M. French, Supervising
21   Assistant Federal Defender, attorney for defendant DOUGLAS JOSEPH
22   WILLIAM CRONIN, that the Status Conference hearing date of March 30,
23   2009, be vacated and a new Status Conference hearing date of April 27,
24   2009, at 10:00 a.m. be set.
25         This continuance is requested because the parties need more time
26   to make revisions in the plea agreement.
27   ///
28   ///
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 1         It is further stipulated that the period from March 30, 2009,
 2   through and including April 27, 2009, should be excluded pursuant to 18
 3   U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 based upon continuity of
 4   counsel and defense preparation.
 5   Dated: March 27, 2009                   Respectfully submitted,
 6
 7                                           DANIEL J. BRODERICK
                                             Federal Defender
 8
                                             /s/ Mary M. French
 9                                           MARY M. FRENCH
                                             Supervising Assistant
10                                           Federal Defender
                                             Attorney for Defendant
11                                           DOUGLAS JOSEPH WILLIAM CRONIN
12
13   Dated: March 27, 2009                   /s/  Mary M. French for
                                                  Candace Ann Fry
14                                           ________________________________
                                             CANDACE ANN FRY
15                                           Attorney for Defendant
                                             BRENDA DUKE
16
17   Dated: March 27, 2009                   LAWRENCE G. BROWN
                                             Acting United States Attorney
18
19                                           /s/  Mary M. French for
                                                  Lawrence G. Brown
20                                           ________________________________
                                             LAWRENCE G. BROWN
21                                           Acting United States Attorney
22   IT IS SO ORDERED.
23   Dated: March 27, 2009
24
25
                              _______________________________________
26                            FRANK C. DAMRELL, JR.
                              UNITED STATES DISTRICT JUDGE
27
28


     Stipulation and Order                   2
